         IN THE DISTRICT COURT OF THE UNITED STATES
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     CHARLOTTE DIVISION

                    CRIMINAL CASE NO. 3:08cr233


UNITED STATES OF AMERICA, )
                          )
                          )
             vs.          )                   ORDER
                          )
                          )
MARINO MARTINEZ.          )
                          )


     THIS MATTER is before the Court on the Government’s Notice of

Appeal and Motion for Stay and Revocation of Magistrate’s Release Order

[Doc. 36], filed February 27, 2009. The Defendant has responded. [Doc.

41]. On March 5, 2009, the Magistrate’s Order of release was stayed

pending resolution of the Government’s appeal.

                        PROCEDURAL HISTORY

     On November 19, 2008, the Defendant was charged in United States

v. Martinez, Criminal Case No. 3:08cr237 (hereinafter “Case 237") with

conspiracy to submit false claims, conspiracy to defraud the United States,

aggravated identity theft, conspiracy to money launder, and money

laundering, in violation of 18 U.S.C. §§286, 371, 1028A(a)(1), 1956(h), and


                                     1
     Case 3:08-cr-00233-MOC   Document 43    Filed 03/13/09   Page 1 of 11
1957(a). [Case 237, Doc. 3]. In that indictment, the Defendant and three

co-conspirators were alleged to have operated a scheme to defraud the

United States by submitting fraudulent tax returns and negotiating 12

million dollars in fraudulently obtained tax refund checks. On the same

date that the Defendant was indicted in Case 237, his co-conspirators,

Peralta, Loria and Varela, were indicted in this case (3:08cr233) and

charged with the same crimes. [Doc. 1].

      The Defendant was indicted separately from his co-conspirators

because at the time of the indictment, he was in Columbia, South America

and the Government feared that if he knew of the indictment, he would not

return to the United States. [Case 237, Doc. 11]. When the Defendant

returned to the United States in late November 2008, he was arrested. [Id.,

Doc. 9]. At that time, the Magistrate Judge ordered the Defendant into pre-

trial detention, citing as grounds the Defendant’s ties to Columbia, the fact

that the money involved in the crimes was missing and the fact that the

Defendant faced a sentence of 10 years. [Id., Doc. 6].

      On January 29, 2009, the Defendant’s case was consolidated with

that of his co-conspirators. [Id., Doc. 13]. On February 27, 2009, the

Defendant entered into a plea agreement with the Government pursuant to

which he agreed to plead guilty to Counts One through Three, conspiracy


                                      2
     Case 3:08-cr-00233-MOC    Document 43    Filed 03/13/09   Page 2 of 11
to submit false claims to the United States, conspiracy to defraud the

United States and aggravated identity theft. [Doc. 37]. He faces a statutory

maximum sentence of 10 years on Count 1 and 5 years on Count 2 to be

followed by a 2 year consecutive sentence for identity theft on Count 3. On

the same date that the Magistrate Judge accepted the Defendant’s change

of plea, he ordered the Defendant to be released on $100,000 unsecured

bond with the conditions of home detention and electronic monitoring.

[Doc. 40]. The Government seeks review of that decision.



                          STANDARD OF REVIEW

      The Government seeks review and revocation of the Magistrate’s

release order. 18 U.S.C. §3145(a)(1) (“the attorney for the Government

may file, with the court having original jurisdiction over the offense, a

motion for revocation of the order”). The district court, in reviewing an

order of release, conducts a de novo review and makes an independent

determination of the appropriateness of pre-trial detention or conditions of

release. United States v. Stewart, 19 Fed.Appx. 46 (4th Cir. 2001), citing

United States v. Reuben, 974 F.2d 580, 585-86 (5th Cir. 1992), certiorari

denied 507 U.S. 940, 113 S.Ct. 1336, 122 L.Ed.2d 720 (1993). Pending

sentencing, the “burden of establishing that the defendant will not flee ...


                                       3
     Case 3:08-cr-00233-MOC     Document 43     Filed 03/13/09   Page 3 of 11
rests with the defendant.” Fed.R.Crim.P. 46(c); United States v. Abuhamra,

389 F.3d 309, 317 n.4 (2nd Cir. 2004); United States v. Bakker, 891 F.2d

287 (4th Cir. 1989).

      [T]he judicial officer shall order that a person who has been found
      guilty of an offense and who is awaiting imposition or execution of
      sentence, ... be detained, unless the judicial officer finds by clear
      and convincing evidence that the person is not likely to flee or
      pose a danger to the safety of any other person or the community
      if released[.]

18 U.S.C. §3143(a) (emphasis provided).

“The clear language of th[is] section requires the judicial officer to order the

person detained once a finding of guilt has been made.” United States v.

Hamrick, 720 F.Supp. 66, 67 (W.D.N.C. 1989). For purposes of this

review, a defendant who has entered a guilty plea is considered to have

been “found guilty.” United States v. Luisa, 266 F.Supp.2d 440, 445

(W.D.N.C. 2003); United States v. Breedlove, 7 Fed.Appx. 268 (4th Cir.

2001); United States v. Moffitt, 527 F.Supp.2d 474 (W.D.N.C. 2006).

      The Court has reviewed the charges to which the Defendant has pled

guilty and considered the recording of the hearing before the Magistrate

Judge and finds this matter may be disposed of without further hearing.

United States v. Cisneros, 328 F.3d 610, 614-15 (10th Cir. 2003) (§3145

“does not require that new information be available before a release []

order can be reconsidered and revoked.”); accord, United States v. El

                                       4
     Case 3:08-cr-00233-MOC     Document 43     Filed 03/13/09   Page 4 of 11
Edwy, 272 F.3d 149 (2nd Cir. 2001); United States v. Mostrom, 11 F.3d 93,

95 (8th Cir. 1993); United States v. Clark, 865 F.2d 1433, 1437 (4th Cir.

1989).



                                   DISCUSSION

      The Defendant argues two grounds for his release pending

sentencing. First, he asserts that he has shown by clear and convincing

evidence that he is not likely to flee, and therefore he is entitled to release

under 18 U.S.C. §3143(a).1 Second, he argues that he has presented

evidence of exceptional circumstances warranting his release under 18

U.S.C. §3145(c).

18 U.S.C. §3143(a) - Flight Risk

      The Defendant cites several factors in support of his argument that

he is not a flight risk. He owns real estate in Gaston County and has family

ties to that area. Although he acknowledges that his wife lives in Columbia

and that he frequently traveled there in the past, Defendant argues the

presence of his two adult children in the United States and the fact that his

children are United States citizens establish that he will not flee. He also



      1
     The Government does not contend that the Defendant is a danger to the
community, thus fulfilling the other prong of the test under 18 U.S.C. §3143(a).

                                           5
      Case 3:08-cr-00233-MOC       Document 43      Filed 03/13/09    Page 5 of 11
offered, through counsel, to surrender his passports.2

      By contrast, evidence presented at the detention hearings showed

that during the five month period prior to his arrest, the Defendant resided

in Columbia. Moreover, the Defendant was present in Columbia for at

least one month in 2006 and almost six months in 2007.

      In addition to the Defendant’s actual presence in Columbia for

extended periods of time, a cooperating witness has disclosed that the

Defendant admitted operating a business in Columbia where he owns real

estate. The Defendant reported to the witness that he trusted someone in

the United States to cash the tax refund checks in his absence. The

Defendant also told that witness that he would only be in the United States

for a short time to check on the fraudulent tax refund business before

returning to Columbia. This would appear to manifest an intent on the part

of the Defendant to leave to country.

      The Defendant’s offer to surrender his passports also does little to

refute the evidence of such intent to leave the country. The Defendant has

entered a guilty plea to aggravated identity theft, thus raising a concern

that he could reproduce and travel with fraudulent identity documents even



      2
      The Defendant apparently holds passports from both the United States and
Columbia.

                                        6
     Case 3:08-cr-00233-MOC      Document 43    Filed 03/13/09   Page 6 of 11
if he surrenders his valid passports. He used false identities to cash

fraudulent tax refund checks totaling $430,543 during one twelve day

period in 2008. This reflects an ability to assume identities other than his

own as well as a wherewithal to generate enough money to flee even if he

does not have access to the missing 12 million dollars involved in the

scheme at issue in this prosecution. The Defendant’s background, his

ability to produce false identification documents and his past extensive

travel for prolonged periods of time to Columbia where his wife resides

show “that he is clearly versed in the means and methods of fugitives,

should he determine that the amount of time faced in prison is

unbearable[.]” Luisa, 266 F.Supp.2d at 447. “[I]ndeed, many of the items

disclosed in [this motion] mitigate against release under any conditions.”

Id. “‘[A]nyone that has dual passports, dual citizenship with passports

even though they are now retained by the federal government, is always

suspect of having an available avenue to flee.’” United States v.

Amirnazmi, 2008 WL 4925015 **2 (E.D.Pa. 2008); United States v.

Abdullahu, 488 F.Supp.2d 433, 443 (D.N.J. 2007).

      The Court has considered the cases cited by defense counsel and

finds them to be inapposite. In United States v. Ramnath, 533 F.Supp. 2d

662 (E.D.Tex. 2008), the physician defendant had been charged with


                                      7
     Case 3:08-cr-00233-MOC    Document 43    Filed 03/13/09   Page 7 of 11
manslaughter of a patient but had a husband and two minor children in the

district along with an established medical practice with an annual income of

$400,000. All of the defendant’s past travel had been job related. In

United States v. Sabhani, 529 F.Supp.2d 377 (E.D.N.Y. 2007), there was

likewise no evidence of an expressed intent to depart the country as is

present in this case. The evidence of a likelihood of flight is simply much

stronger in this case than in either of the cases upon which the Defendant

relies.

      The Court has considered the offenses to which the Defendant has

entered guilty pleas, the history and characteristics of the Defendant, and

the other enumerated factors of 18 U.S.C. §3142(g) and finds that the

Defendant has failed to show by clear and convincing evidence that he is

not likely to flee. As a result, there is no condition or combination of

conditions that will reasonably assure his appearance at sentencing.



18 U.S.C. §3145(c) - Exceptional Circumstances

      The Defendant makes an alternative argument that he has

established exceptional circumstances warranting his release under 18

U.S.C. §3145(c).

      First it should be noted that this provision does not apply to the


                                       8
      Case 3:08-cr-00233-MOC    Document 43    Filed 03/13/09   Page 8 of 11
Defendant because he is not subject to mandatory detention pursuant to

18 U.S.C. §3143(a)(2) because his offense is neither a crime of violence of

a drug crime. Even if section 3145(c) did apply, however, exceptional

circumstances are not presented herein.

      Exceptional circumstances are “clearly out of the ordinary,

uncommon, or rare.” United States v. Larue, 478 F.3d 924, 926 (8th Cir.

2007); United States v. Lea, 360 F.3d 401, 403 (2d Cir. 2004); United

States v. Koon, 6 F.3d 561, 563 (9th Cir. 1993). The Defendant claims that

his cooperation and attempts to obtain a downward departure show that he

would not jeopardize any such departure by fleeing. The Defendant’s

cooperation, however, while “commendable,” “does not authorize a

defendant’s release except for exceptional reasons that are simply not

present in this case.” United States v. Sharp, 517 F.Supp.2d 462, 466

(D.D.C. 2007); United States v. Little, 485 F.3d 1210, 1211 (8th Cir. 2007)

(it is not out of the ordinary, rare or uncommon for defendants to cooperate

in the investigation of their criminal act); Luisa, 266 F. Supp. at

447(defendant’s 20 page proffer, desire for downward departure, desire to

self-report to prison and reputable family do not constitute exceptional

circumstances).

      Likewise, the Defendant’s desire to help his children does not


                                       9
     Case 3:08-cr-00233-MOC     Document 43    Filed 03/13/09   Page 9 of 11
constitute exceptional circumstances. Id. (“It is clear that mere personal

reasons, including caring for a family or gainful employment, are not

‘exceptional.’); United States v. Garcia, 340 F.3d 1013, 1022 (9th Cir. 2003)

(“Hardships that commonly result from imprisonment do not meet the

standard.”); United States v. Sabhnani, 529 F.Supp.2d 377, 382 (E.D.N.Y.

2007) (“Incarceration always is associated with severe familial

inconvenience.”). While counsel argues that a combination of conditions

could insure the Defendant’s presence at sentencing, “[t]he Court would be

hard-pressed to find any defendant who would not submit to a variety of

conditions provided that he or she was released.” Luisa, 266 F.Supp.2d at

448.

        The Defendant curiously argues that allowing his release pending

sentencing would allow him the opportunity to take care of his tax

preparation business. This, however, is the same tax preparation business

he used to perpetrate the fraud to which he has pled guilty. Rather than

supporting release, this argument by the Defendant more aptly supports

the Government’s position. One more reason for keeping the Defendant

incarcerated pending sentencing is to protect the public from his potential

further criminal misconduct by and through this tax preparation business.

See 18 U.S.C. §3143(a)


                                      10
       Case 3:08-cr-00233-MOC   Document 43   Filed 03/13/09   Page 10 of 11
     The undersigned therefore also concludes that the Defendant has

not satisfied the requirements for release pursuant to §3145(c) by showing

exceptional circumstances.

     For these reasons the Magistrate Judge’s order of release will be

vacated and the Defendant detained pending sentencing.



                                 ORDER

     IT IS, THEREFORE, ORDERED that the Government’s Notice of

Appeal and Motion for Stay and Revocation of Magistrate’s Release Order

[Doc. 36] is hereby GRANTED and the Magistrate Judge’s Release Order

is hereby REVOKED and the Defendant is ordered to be detained pending

sentencing.



                                    Signed: March 13, 2009




                                    11
    Case 3:08-cr-00233-MOC   Document 43   Filed 03/13/09    Page 11 of 11
